

















IN THE COURT OF CRIMINAL APPEALS

OF TEXAS






NO. PD-0724-12






LIONEL GONZALES, Appellant


v.


THE STATE OF TEXAS






ON DISCRETIONARY REVIEW

FROM THE FOURTH COURT OF APPEALS,

BEXAR COUNTY





	Womack, J., delivered the opinion of the Court, in which Keller, P.J., and Price,
Johnson, Keasler, Hervey, Cochran, and Alcala, JJ., joined. Meyers, J., did not
participate.



	The issue in this case is whether the Court of Appeals improperly placed the burden on
the appellant to demonstrate that he was prejudiced by the excessive delay between his
indictment and trial. Holding that the Court of Appeals erred, we reverse its judgment and
remand this case to that court for consideration of the appellant's claim under the correct
standard.

	The appellant was charged by indictment on March 17, 2004, with injury to a child and
indecency with a child. He was not arrested until April 21, 2010, and soon thereafter he filed a
motion to dismiss for lack of a speedy trial. 

	In determining whether an accused has been denied his right to a speedy trial under the
state and federal constitutions, Texas courts use the balancing test created by the United States
Supreme Court in Barker v. Wingo. (1) The factors to be weighed include, but are not limited to: (1)
the length of the delay; (2) the reason for the delay; (3) the defendant's assertion of the right; and
(4) the prejudice to the defendant resulting from the delay. (2)

	In the instant case, the trial court ruled that the appellant was not denied his right to a
speedy trial because he failed to satisfy the third and fourth prongs. The Court of Appeals
disagreed as to the third prong, but held that the appellant's failure to demonstrate prejudice
nonetheless outweighed the first three factors. (3) In so doing, the Court of Appeals, ostensibly
relying on the Supreme Court's opinion in Doggett v. United States, (4) held that "even in the case
where the delay is presumptively prejudicial - as we conclude it is here - the appellant must
nevertheless show that he was prejudiced by the delay." (5)

	Now, on appeal to this court, the appellant contends - and the State concedes - that,
where the delay is presumptively prejudicial, Doggett absolves the accused from the requirement
to demonstrate prejudice. The appellant further contends - and the State again concedes - that it
is the State that must rebut or extenuate the presumption of prejudice.	

	We agree. In the instant case, the six-year delay between the appellant's indictment and
his arrest "presumptively compromise[d] the reliability of a trial in ways that neither party can
prove or, for that matter, identify." (6) Accordingly, the Court of Appeals should have reviewed the
record not for proof of prejudice but rather the rebuttal or extenuation of prejudice. (7)

	The Court of Appeals improperly placed the burden on the appellant to demonstrate
prejudice. We reverse its judgment and remand this case to that court to conduct the Barker
balancing test under the correct standard for determining prejudice.


Delivered February 27, 2013.

Do not publish.
1.  407 U.S. 514, 530 (1972); Harris v. State, 827 S.W.2d 949, 956 (Tex. Cr. App. 1992).
2.  Barker, 407 U.S., at 531.
3.  Gonzales v. State, No. 04-11-00405-CR, 2012 Tex. App. LEXIS 2989 (Tex. App.- San Antonio Apr. 18,
2012). 
4.  505 U.S. 647 (1992).
5.  Gonzales, No. 04-11-00405-CR.
6.  Doggett, 505 U.S., at 655-56; see also Shaw v. State 117 S.W.3d 883, 890 (Tex. Cr. App. 2003) (a delay
of 38 months between indictment and trial requires a presumption of prejudice); Dragoo v. State, 96 S.W.3d 308,
316 (Tex. Cr. App. 2003) ("The court of appeals also held that the 3½ year delay between appellant's arrest and trial
was 'patently excessive' and, in itself, 'presumptively prejudicial' to appellant's defense. In accordance with
precedent, we must agree with that assessment."); Pierce v. State, 921 S.W.2d 291 (Tex. App. - Corpus Christi
1996, no pet.) ("Although the State contends that appellant did not provide evidence of actual prejudice, we find that
appellant did not have such a burden in this case because of the protractedness of the delay and the State's
negligence."); Thompson v. State, 983 S.W.2d 780, 786 (Tex. App. - El Paso 1998, pet. ref'd) ("The
eight-year-delay in this case caused by the State's negligence exceeds the six-year-delay at issue in Doggett.
Therefore, Appellant's failure to offer demonstrable evidence of prejudice is not fatal to his claim. We will consider
the presumptive prejudice caused by the delay in balancing the Barker criteria.").
7.  Doggett, 505 U.S., at 658.


